           Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.1 Page 1 of 11
AO 106 (Rev. 06/09) Application for a Search Warrant



                                         UNITED STATES DISTRICT Cou
                                                                         for the
                                                             Southern District of California

               In the Matter of the Search of                               )
          (Briefly describe the property to be searched                     )
           or identify the person by name and address)                      )           Case No.
     Huawei Android (H 1711) Cellular Phone, Serial                         )
                                                                            )
      Number GISH1711, !MEI 864885032473786
                                                                            )                             19MJ2335
                                                APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prf)]Jert)l. tQ be, searched and give its location):
  ::>ee Attacnment A.


located in the               Southern                  District of              California
                                                                     ~~~~~~~~~~~~
                                                                                                       , there is now concealed (identify the
person or describe the property to be seized):
  See Attachment B.


           The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                r'if evidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                  0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
            Code Section                                                             Offense Description
        21 U.S.C. 952 and 960                           Importation of Controlled Substances


         The ~_pplication is based on these facts:
        See Affidavit of HSI Special Agent Timothy M. Gorman, which is hereby incorporated by reference and made part
        hereof.




                                                                                             Timothy M. Gorman, HSI Special Agent
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Dme:             6/1/f1                                                                                 Judge's signature

City and state: San Diego, CA                                                           Hon. William V. Gallo U.S. Magistrate Judge
                                                                                                      Printed name and title
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.2 Page 2 of 11



 1        AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
 2         I, Timothy M. Gorman, Special Agent with Immigration and Customs Enforcement,
 3 Homeland Security Investigations, hereby state as follows:
 4                                      INTRODUCTION
 5         1.     I make this affidavit in support of an application for a warrant to search one
 6 Huawei       Android   (Hl 711)   Cellular Phone,     Serial Number      GISHl 711,    IMEI
 7 864885032473786, hereinafter referred to as the "Target Device," as described in
 8 Attachment A (incorporated herein by reference).
 9         2.     The Target Device was seized from Defendant Elva Maria VALDEZ-Reyes
10 on or about March 8, 2019, when she was arrested for the importation of
11 methamphetamine, in violation of Title 21, United States Code, Sections 952 and 960, and
12 is currently in the possession of Homeland Security Investigations, 880 Front Street, Suite
13 3200, San Diego, California 92101.
14         3.     I seek authority to search the Target Device for, and to seize evidence of,
15 federal crimes, specifically, the importation of methamphetamine in violation of Title 21,
16 United States Code, Sections 952 and 960, as described in Attachment B (incorporated
17 herein by reference), for the time period February 8, 2019, through March 9, 2019.
18         4.     Based on the information below, there is probable cause to believe that the
19 Target Device, described in Attachment A, contains evidence, described in Attachment B,
20 of the aforementioned crimes.
21         5.     The information contained in this affidavit is based upon my experience,
22 training, and consultation with other federal law enforcement agents. The evidence and
23 information contained herein was developed from interviews and my review of documents
24 and evidence related to this case. Because this affidavit is made for the limited purpose of
25 obtaining a search warrant for the Target Device, it does not contain all of the information
26 known by me or other federal agents regarding this investigation, but only contains those
27 facts believed to be necessary to establish probable cause. Dates, times, and amounts are
28 approximate.
                                                  1
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.3 Page 3 of 11




 1                             EXPERIENCE AND TRAINING
 2         6.    I am a Special Agent (SA) with Immigration and Customs Enforcement (ICE),
 3 Homeland Security Investigations (HSI), and have been employed by ICE/HSI since July
 4 2007. I am currently assigned to the Special Agent in Charge (SAC), San Diego Office,
 5 Asset Identification Removal Group (AIRG). My duties with AIRG consist of supporting
 6 HSI investigations with the identification and seizure of assets associated with criminal
 7 activity, including drug trafficking organizations and the initiation of civil or criminal
 8 forfeiture action against these assets. Prior to working for HSI, I was employed with the
 9 Custom and Border Protection (CBP) United States Border Patrol (USBP), for more than
10 ten years.
11         7.    I have had approximately 23 weeks of intensive training at the Federal Law
12 Enforcement Training Center, comprising of basic criminal investigator training and ICE
13 Special Agent Training.         I have received training in identifying various controlled
14 substances and conducting Title 21 controlled substances investigations. I also am cross-
15 designated by the United States Drug Enforcement Administration (DEA) to conduct
16 narcotics investigations and enforce the provisions of the Controlled Substance Act.
17         8.    In the course of my duties, I have worked as a case agent directing drug-
18 related investigations. I also have worked as a surveillance agent and observed and
19 recorded movements of individuals trafficking in drugs and of those suspected of
20 trafficking in drugs. Additionally, I have participated in the execution of numerous search
21   warrants; initiated and executed numerous arrests for drug-related    ~ffenses,   including
22 possession with the intent to distribute and the importation of controlled substances; and
23 interviewed defendants, witnesses, and informants regarding the illegal trafficking of
24 controlled substances. Through these experiences, I have gained a working knowledge and
25 insight into the operational habits of narcotics smugglers with particular emphasis on those
26 who attempt to import narcotics into the United States from Mexico through the San Diego
27 international ports of entry.
28
                                                  2
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.4 Page 4 of 11




 1         9.      In preparing this affidavit, I have conferred with other agents and law
 2 enforcement personnel who are experienced in the area of narcotics investigations, and the
 3 opinions- stated below are shared by them. Further, I have personal knowledge of the
 4 following facts, or have had them related to me by persons mentioned in this affidavit.
 5         10.     Through the course of my training, investigations, and conversations with
 6 other law enforcement personnel, I am aware that it is a common practice for narcotics
 7 smugglers to work in concert with other individuals and to do so by utilizing cellular
 8 telephones to coordinate with co-conspirators in order to further their criminal activities.
 9 This is particularly true in cases involving distribution amount quantities of controlled
1O substances, such as methamphetamine. Narcotics smugglers and their organizations often
11 use cellular telephones, in part, because these individuals believe law enforcement is
12 unable to track the originating and destination phone numbers of calls placed to and from
13 cellular telephones. I also am aware that load drivers smuggling controlled substances
14 across the border are often in telephonic contact with co-conspirators immediately prior to,
15 during, and following the crossing of the narcotic load.
16         11.     Based upon my training and experience as a Special Agent, and consultations
17   with law enforcement officers experienced in narcotics smuggling investigations, I am also
18   aware that:
19         a.      Drug smugglers will use cellular telephones because they are mobile and they
20                 have instant access to telephone calls, text, web, and voice messages.

21        b.       Drug smugglers will use cellular telephones because they are able to actively
22                 monitor the progress of their illegal cargo while the conveyance is in transit.
23         c.      Drug smugglers and their accomplices will use cellular telephones because
24                 they can easily arrange and/or determine what time their illegal cargo will
                   arrive at predetermined locations.
25
26         d.      Drug smugglers and their co-conspirators will use cellular telephones to
                   communicate with load drivers who transport their narcotics and/or drug
27
28
                                                   3
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.5 Page 5 of 11



                 proceeds across the border, including to direct drivers to synchronize an exact
 1
                 drop off and/or pick up time of their illegal cargo.
 2
           e.    Drug smugglers will use cellular telephones to -notify or warn their
 3
                 accomplices of law enforcement activity to include the presence and posture
 4               of marked and unmarked units, as well as the operational status of checkpoints
                 and border crossings.
 5
 6         f.    The use of cellular telephones by drug traffickers tends to generate evidence that
                 is stored on the cellular telephones, including, but not limited to emails, text
 7
                 messages, photographs, audio files, call logs, address book entries, IP addresses,
 8               social network data, and location data.
 9         12.   Based upon my training and experience, and consultation with law
1O enforcement officers experienced in narcotics trafficking investigations, and all the facts
11 and opinions set forth in this affidavit, I also have learned that cellular telephones can and
12 often do contain electronic records, phone logs and contacts, voice and text
13 communications, and data such as emails, text messages, chats and chat logs from various
14 third-party applications, photographs, audio files, videos, and location data. This
15 information can be stored within disks, memory cards, deleted data, remnant data, slack
16 space, and temporary or permanent files contained on or in the cellular/mobile telephone.
17 Specifically, I have learned, through my training, education, that searches of cellular
18 telephones associated with narcotics smuggling yield evidence:
19
         a.    Tending to indicate efforts to import methamphetamine or other federally
20             controlled substances from Mexico into the United States;
21
         b.    Tending to identify accounts, facilities, storage devices, and/or services- such
22             as email addresses, IP addresses, and phone numbers - used to facilitate the
23             importation of methamphetamine or other federally controlled substances
               from Mexico into the United States;
24
25         c.    Tending to identify co-conspirators, criminal associates, or others involved in
                 the importation of methamphetamine or other federally controlled substances
26               from Mexico into the United States;
27
28                                                4
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.6 Page 6 of 11



            d.    Tending to identify travel to or presence at locations involved in the
 1
                  importation methamphetamine or other federally controlled substances from
 2                Mexico into the United States, such as stash houses, load houses, or delivery
                  points;
 3
 4          e.    Tending to identify the user of, or persons with control over or access to, the
                  subject cellular/mobile telephone; and,
 5
 6          f.    Tending to place in context, identify the creator or recipient of, or establish
                  the time of creation or receipt of communications, records, or data involved
 7
                  in the activities described above.
 8
 9                           FACTS SUPPORTING PROBABLE CAUSE
10          13.   On March 8, 2019, at approximately 7:30 p.m., Defendant, a citizen ofMexico
11 in possession of a Border Crossing Card, applied for permission to enter the United States
12 from Mexico through the San Ysidro, California Port of Entry. Defendant was the driver,
13 registered owner, and sole occupant of a 2002 GMC Envoy bearing Mexico license plates
14 (the vehicle).
15          14.   In pre-primary, a Customs and Border Protection Officer (CBPO) inspected
16 the spare tire located under the rear side of the vehicle. The CBPO noticed that it was not
17 fully   ~nflated   and used a buster density meter on the spare tire, which yielded higher than
18 normal readings. The CBPO contacted a Canine Enforcement Officer (CEU), and a canine
19 alerted to the vehicle near the rear undercarriage where the spare tire was located. The
20 vehicle was referred to secondary inspection.
21          15.   In secondary, the Z-Portal x-ray imaging system revealed anomalies in the
22 spare tire, and a total of 3 7 packages were removed from the vehicle, including 13 packages
23 from the spare tire and 24 packages from a non-factory compartment in the vehicle's
24 firewall.
25          16.   A subsequent DEA laboratory analysis of the packages confirmed that the
26 substance was 17.2 kg of methamphetamine (actual).
27
28                                                  5
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.7 Page 7 of 11



 1         17.   Defendant was placed under arrest, and the Target Device was seized incident
 2 to Defendant's arrest. The Target Device was not downloaded at the Port of Entry.
 3         18.   Based upon my experience and investigation in this case, I believe that the
 4 Target Device contains evidence of violations of Title 21, United States Code, Sections
 5 952 and 960, Importation of a Controlled Substance. Specifically, I believe that Defendant,
 6 as well as other persons as yet unknown, were involved in an ongoing conspiracy to import
 7 methamphetamine or other federally controlled substances into the United States. Based
 8 on my experience investigating narcotics smugglers, I also believe that Defendant may
 9 have used the Target Device to coordinate with co-conspirators regarding the importation
1O and distribution of controlled substances, and to otherwise further this conspiracy both
11 inside and outside of the United States.
12         19.   Further, based upon my experience and training, consultation with other law
13 enforcement officers experienced in narcotics trafficking investigations, and all the facts
14 and opinions set forth in this affidavit, I believe recent calls made and received, telephone
15 numbers, contact names, electronic mail (e-mail) addresses, appointment dates, text
16 messages, pictures and other digital information are stored in the memory of the Target
17 Device which may identify other persons involved in narcotics trafficking activities.
18 Accordingly, based upon my experience and training, consultation with other law
19 enforcement officers experienced in narcotics trafficking investigations, and all the facts
20 and opinions set forth in this affidavit, I believe that information relevant to the narcotics
21 trafficking activities of Defendant, such as telephone numbers, made and received calls,
22 contact names, electronic mail (e-mail) addresses, appointment dates, messages, pictures,
23 audio files, videos and other digital information are stored in the memory of the Target
24 Device.
25         20.   Finally, I am aware that drug conspiracies reqmre detailed and intricate
26 planning to successfully evade detection by law enforcement. In my professional training
27 and experience, this may require planning and coordination in the days and weeks prior to
28
                                                  6
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.8 Page 8 of 11



 1 the event. Additionally, co-conspirators are often unaware of the subject's arrest and will
 2 continue to attempt to communicate with the subject after the arrest to determine the
 3 whereabouts of their valuable cargo. Given this, I respectfully request permission to search
 4 the Target Device for the time period February 8, 2019, through March 9, 2019.
 5                                   METHODOLOGY
 6         21.   It is not possible to determine, merely by knowing the cellular telephone's
 7 make, model and serial number, the nature and types of services to which the device is
 8 subscribed and the nature of the data stored on the device. Cellular devices today can be
 9 simple cellular telephones and text message devices, can include cameras, can serve as
1O personal digital assistants and have functions such as calendars and full address books and
11 can be mini-computers allowing for electronic mail services, web services and rudimentary
12 word processing. An increasing number of cellular service providers now allow for their
13 subscribers to access their device over the internet and remotely destroy all of the data
14 contained on the device. For that reason, the device may only be powered in a secure
15 environment or, if possible, started in "flight mode" which disables access to the network.
16 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
17 equivalents and store information in volatile memory within the device or in memory cards
18 inserted into the device. Current technology provides some solutions for acquiring some
19 of the data stored in some cellular telephone models using forensic hardware and software.
20 Even if some of the stored information on the device may be acquired forensically, not all
21 of the data subject to seizure may be so acquired. For devices that are not subject to
22 forensic data acquisition or that have potentially relevant data stored that is not subject to
23 such acquisition, the examiner must inspect the device manually and record the process
24 and the results using digital photography. This process is time and labor intensive and may
25 take weeks or longer.
26         22.   Following the issuance of this warrant, I will collect the Target Device and
27 subject it to analysis. All forensic analysis of the data contained within the telephone and
28                                                7
     Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.9 Page 9 of 11



 1 its memory cards will employ search protocols directed exclusively to the identification
 2 and extraction of data within the scope of this warrant.
 3        23.    ·Based on the foregoing, identifying and extracting data subject to seizure
 4 pursuant to this warrant may require a range of data analysis techniques, including manual
 5 review, and, consequently, may take weeks or months. The personnel conducting the
 6 identification and extraction of data will complete the analysis within ninety (90) days,
 7 absent further application to this court.
 8                                       CONCLUSION
 9         24.    Based on all of the facts and circumstances described above, I believe that
1O probable cause exists to conclude that Defendant used the Target Device to facilitate
11 violations of 21 U.S.C. §§ 952 and 960. I also believe that probable cause exists to believe
12 that evidence of that illegal activity committed by Defendm:t and other co-conspirators
13 continues to exist on the Target Device.
14        25.     WHEREFORE, I request that the court issue a warrant authorizing law
15 enforcement agents and/or other federal and state law enforcement officers to search the
16 item described in Attachment A, and seize the items listed in Attachment B, using the
17 methodology described above.
18        I swear the foregoing is true and correct to the best of my knowledge and belief.
19
20                                         :SA~J;H.~
                                               TimothYM0rm36/
21                                             Special Agent
22                                             Homeland Security Investigations
23
24 Subscribed and sworn to before me this      _t/
                                                __ day of June, 2019.
25               ~~
26 HON. WILLIAM V. GALLO
   United States Magistrate Judge
27
28
                                                   8
 Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.10 Page 10 of 11



                            ATTACHMENT A
                        PROPERTY TO BE SEARCHED

The property to be searched is:

   One (1) Huawei Android (HI 711) Cellular Phone,
   Serial Number GISHI 711,
   Il\1EI864885032473786

Currently in the possession of Homeland Security Investigations, 880 Front Street,
Suite 3200, San Diego, California 92101.
 Case 3:19-mj-02335-WVG Document 1 Filed 06/04/19 PageID.11 Page 11 of 11



                                  ATTACHMENT B
                                ITEMS TO BE SEIZED

       Authorization to search the Target Device described in Attachment A includes
the search of disks, memory cards, deleted and remnant data, slack space, and temporary
or permanent files contained on or in the cellular/mobile telephone for evidence
described below. The seizure and search of Target Device shall follow the search
methodology described in the attached affidavit submitted in support of the warrant.

       The evidence to be seized from Target Device will be electronic records,
communications, and data, such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of February 8, 2019, through March 9, 2019:

      a.     tending to indicate efforts to import methamphetamine or other
             federally controlled substances from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services
             -such as email addresses, IP addresses, and phone numbers - used to
             facilitate the importation of methamphetamine or other federally
             controlled substances from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others
             involved in the importation of methamphetamine or other federally
             controlled substances from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine or other federally controlled
             substances from Mexico into the United States, such as stash houses,
             load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, the Target Device; and

      f.     tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records, or
             data involved in the activities described above.

All believed to be evidence of violations of Title 21, United States Code,§§ 952 and
960.
